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14                                UNITED STATES DISTRICT COURT

15                          FOR THE NORTHERN DISTRICT OF CALIFORNIA

16                                     SAN FRANCISCO DIVISION

17
      AMERICAN FEDERATION OF                          Case No. 25-cv-01780-WHA
18
      GOVERNMENT EMPLOYEES, AFL-CIO;
      AMERICAN FEDERATION OF STATE                    PLAINTIFFS’ NOTICE OF
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      COUNTY AND MUNICIPAL EMPLOYEES,                 SUPPLEMENTAL AUTHORITY
20    AFL-CIO, et al.,                                (MARYLAND DISTRICT COURT
                                                      DECISION)
21            Plaintiffs,
22       v.
23
      UNITED STATES OFFICE OF PERSONNEL
24    MANAGEMENT, et al.,

25            Defendants.
26
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     PLFS’ NOTICE OF SUPPLEMENTAL AUTHORITY, #3:25-cv-01780-WHA
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 1          Plaintiffs hereby submit notice of the April 1, 2025 Memorandum and Order in Maryland et

 2   al. v. USDA et al., United States District Court for the District of Maryland, Case No. JKB-25-0748,
 3
     attached hereto as Exhibits A and B. Judge Bredar granted in part the Plaintiff States’ Motion for
 4
     Preliminary Injunction after concluding that the terminations of probationary employees likely
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     violated the statutes pertaining to reductions in force, and ordered twenty federal agency Defendants
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 7   to “take all steps necessary to undo the purported terminations” of affected probationary employees,

 8   defined to include those who work or reside in any of the twenty Plaintiff States. The Court also

 9   vacated and superseded the prior TRO that required reinstatement of previously terminated
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     probationary employees without regard to geographic location.
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            As a result of this April 1 Order from the District of Maryland, Plaintiffs understand that there
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     are some unknown number of previously-terminated probationary employees that were covered by
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14   the Maryland TRO who are no longer covered by the Maryland PI, but who are addressed by: the

15   Organizational Plaintiffs’ original request for PI; Plaintiff State of Washington’s request for further

16   PI; and/or the Public-Sector Union Plaintiffs’ request for further PI. Plaintiffs will address the issue
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     of remedy further in their forthcoming replies (for Washington, due Thursday April 3; for the Public-
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     Sector Unions due Friday April 4). For the convenience of the Court, Plaintiffs have attached a chart
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     identifying the status of agencies covered by this Court’s current preliminary injunction, Plaintiffs’
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21   request for further injunctions, and the Maryland District Court decision, hereto as Exhibit C.

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     PLFS’ NOTICE OF SUPPLEMENTAL AUTHORITY, NO. 25-cv-01780-WHA                                3
